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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      WEST PALM BEACH
                                        CASE NO.: 9:19-CV-80580-RS
 ALBERTO LEAL,
         PLAINTIFF,
 V.

 VAN DELL JEWELERS OF ROYAL
 PALM BEACH,

         DEFENDANT.
                                                       /

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff, ALBERTO LEAL and Defendant, VAN DELL JEWELERS OF ROYAL
 PALM BEACH, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to this Joint
 Stipulation of Dismissal with Prejudice on the following grounds:

      1. The Parties, having amicably settled the above-captioned litigation, stipulate to the
         dismissal with prejudice of this case, with each party to bear its own attorneys’ fees and
         costs.
      2. The Parties herein request the court issue an Order of Dismissal with Prejudice, order the
         Clerk to close this case, and deny any and all pending motions as moot.
      3. The effectiveness of this stipulation of dismissal is condition upon the Court’s entry of an
         order retaining jurisdiction to enforce the terms of the settlement agreement reached in
         this case.
      Dated this 8th day of November, 2019.

       BERK, MERCHANT & SIMS, PLC                                EGGNATZ PASCUCCI, P.A.

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